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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                           for the
                                                                    District of Kansas

             In the Matter of the Search of



                                                                                   l
         (Briefly describe the property to be searched
          or identify the person by name and address)                                        Case No. ~ -      rn -!.P 16l.1 - D (-kCrG-
  MINOR VICTIM 1, further described in attachment A
                                                                                   )

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A
located in the - - - - - - - -                    District of - - - - -Kansas
                                                                        -------
                                                                                , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B.

          The basis for the search under Fed. R. Crim, P. 41(c) is (check one or more):
               IIYevidence of a crime;
               0 contraband, fruits of crime, or other items illegally possessed;
               0 property designed for use, intended for use, or used in committing a crime;
               0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
           Code Section                                                          Offense Description
       18 U.S.C. 2423(a)                          Transportation of a Minor for Criminal Sexual Activity


          The application is based on these facts:
        See Attached Affidavit of Probable Cause.

          ~ Continued on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                                 Ian D. En ley, Special Agent, FBI

                                       +
                                  e.\ e.p~
Sworn to before me and signed in fl1)1 p1 eset1ee.
                                                          r-:   l    CCC..   \ly




City and state: _W_lch_l_ta-=--,_KS_ _ _ _ _ _ __                                      The    norable Kenneth G. Gale, US Magistrate Judge
                                                                                                       Printed name and title
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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS

 IN THE MATTER OF THE SEARCH OF:
 THE BODY OF                                       Case No.   o(J- 'fri - {al&r-r - 0      \-   K~
 MINOR VICTIM 1
 FOR DNA SAMPLE




                        AFFIDAVIT IN SUPPORT OF APPLICATION
                               FOR SEARCH WARRANT

         I, Ian D. Ensley, Special Agent of the Federal Bureau of Investigation, being duly sworn,

do hereby depose and state:

                         INTRODUCTION AND AGENT BACKGROUND

1.   I am employed as a Special Agent with the Federal Bureau ofinvestigation (FBI). I have been

     employed as a Special Agent since January 6, 2019. I am currently assigned to the Wichita,

     Kansas, Resident Agency, Kansas City Division. Prior to service with the FBI, I was a

     Commissioned Officer in the United States Army. While employed by the FBI, I have

     investigated federal criminal violations related to child exploitation and child pornography. I

     am a federal law enforcement officer who is engaged in enforcing the criminal laws, including

     18 U.S.C. §§ 2423, 2251, 2252/2252A, and 922, and I am authorized by law to request a search

     warrant.

2. I have received training on conducting a wide variety of criminal investigations, to include

     organized crime, drug trafficking, human trafficking, crimes against children, major theft, and

     other federal crimes. I have also received training on the preparation and execution of search

     warrants. I am currently conducting criminal investigations on multiple subjects.

3. As will be shown below, there is probable cause to believe that JAMES WILLIAMS

     ROBERTS (ROBERTS) has engaged in criminal activity relating to the production of child
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   pornography, in violation of'l8 U.S.C. § 225l(a), transportation of child pornography, in

   violation of 18 U.S.C. § 2252A(a)(l), possession of child pornography, in violation of 18

   U.S.C. § 2252A(a)(5)(B), transportation of a minor with intent to engage in criminal sexual

   activity, in violation of 18 U.S.C. § 2423(a), and felon in possession of a firearm, in violation

   of 18 U.S.C. § 922(g)(l). I submit this application and affidavit in support of a search warrant

   authorizing law enforcement to obtain and seize for examination a buccal/cheek swab from

   MINOR VICTIM 1 (an individual known to FBI) for comparison to bodily substances that

   constitute evidence relating to the foregoing criminal violations, and particularly 18 U.S.C.

   § 2423(a).

4. The information in this affidavit has been communicated to me by other law enforcement

   investigators and witnesses involved in this investigation, as outlined below. Since this

   affidavit is being submitted for the limited purpose of supporting a search warrant, I have not

   included each and every fact lmown to me or other investigators concerning this investigation.

   Instead, I have set forth only those facts that I believe are necessary to establish the existence

   of probable cause to support a search warrant.

5. This affidavit is only intended to show only that there is sufficient probable cause for the

   requested warrant and does not set forth all of my lmowledge about this matter.

                             INVESTIGATION/PROBABLE CAUSE

6. An anonymous source reported to the Arizona Department of Child Services (DCS) that they

   had received a photo via text message from phone number (480)318-525 5 on March 23, 2022.

   The source knew the phone number as belonging to JAMES WILLIAMS ROBERTS

   (ROBERTS).




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7. The source advised that the photo depicted a person believed to be ROBERTS hugging a minor

   female, MINOR VICTIM 1, who was completely naked. The source knows who MINOR

   VICTIM 1 is, has seen MINOR VICTIM 1 in person, and believed MINOR VICTIM 1 to be

   16 years old. The face of the person who was hugging MINOR VICTIM 1 could not be seen.

   However, the source believed the person is ROBERTS because he was wearing a neon shirt,

   jeans, and a belt buckle with a distinctive pattern, which the source has seen ROBERTS wear

   before.

8. The DCS investigator obtained the metadata associated with the image sent to the anonymous

   source. The image showed the title "IMG_2101", the date February 16, 2022, the time 9:23

   p.m., and showed that it was taken with an Apple iPhone XR. Additionally, the GPS data

   attached to the image showed that it was taken at the lmown home address for ROBERTS (at

   the time) in Tolleson, Arizona.

9. On April 19, 2022, PPD Detectives identified MINOR VICTIM 1 by obtaining an

   identification photograph from the school she last attended. MINOR VICTIM 1's date ofbirth

   shows that she is currently 15 years old.

10. PPD Detectives also identified MINOR VICTIM 1's home address, which indicated she

   resided with ROBERTS.

11. The email address listed for ROBERTS is robertsjames760@gmail.com.

12. On April 12, 2022, PPD Detectives made contact with Kelly Roberts, the step-mother of

   ROBERTS. She stated that she had not seen ROBERTS nor MINOR VICTIM 1 in several

   months and that ROBERTS told her that he was going to move in with his mother Martha

   Brice who lived in another state.




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13. On April 13, 2022, a PPD Detective received five missed calls from telephone number

   (715)773-0065. A voicemail was left by a person identifying himself as James ROBERTS

   who was calling in regards to MINOR VICTIM 1. ROBERTS advised that he could not recall

   his number to leave for a callback and stated that he had spotty cell service. On April 18, 2022,

   ROBERTS left another message asking for a return call at number (715)773-0065.

14. On April 14, 2022, April 15, 2022, April 18, 2022, April 20, 2022, and April 21, 2022, PPD

   attempted to contact ROBERTS on phone numbers (480)318-5255 and (715)773-0065.

15. On April 22, 2022, PPD obtained a search warrant for location information for phone number

   (715)773-0065. On April 22, 2022, at 12:08 p.m., the phone numbers showed to be in the state

   of Kansas.

16. On April 26, 2022, a PPD Detective spoke with ROBERTS via telephone number (715)773-

   0065. ROBERTS advised that he withdrew MINOR VICTIM 1 from school several months

   prior due to her inability to wear a mask at school. ROBERTS also advised that he moved out

   of his residence in Arizona and into his parent's place at 6707 S. 99th Avenue. ROBERTS

   advised that he was currently out of town "chasing work" and was living out of an RV with

   MINOR VICTIM 1. He advised he was currently at an unknown worksite in an unknown city

   in Minnesota. ROBERTS intended to learn how to home school MINOR VICTIM 1 and stated

   that he would contact PPD at a later time with his exact location.

17. On April 26, 2022, PPD obtained a search warrant issued by the Honorable Joshua Boyle,

   Maricopa County Superior Court, for the iCloud account associated with JAMES WILLIAMS

   ROBERTS, telephone numbers (480)318-5255 and (715)773-0065 and email address

   robertsjames760@gmail.com. Apple returned records associated with this account on or about

   May 2, 2022.



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18. The Apple iCloud account associated with robertsjames760@gmail.com (SUBJECT

   ACCOUNT) lists three attached devices - an iPhone XR black, 64GB, with serial number

   DX3G2JG4KXKN and IMEI 359486323753747, and two iPad 2 devices. The mailing address

   listed is ROBERT's known home address in Tolleson, Arizona, and the phone number listed

   is (480)318-5255.

19. A review of the images and videos contained within the SUBJECT ACCOUNT revealed

   numerous images and videos of ROBERTS and MINOR VICTIM 1. In many videos, MINOR

   VICTIM 1 shakes her bare breasts and or naked body while ROBERTS tells her things like

   "shake it baby" and tells her she's sexy. Some of the videos in which the MINOR VICTIM 1

   is depicted nude show her in a house, in a bathroom, in a vehicle, and in an RV. There are

   some videos where MINOR VICTIM 1 is dressed in a g-string and bra and dances on a stripper

   pole. ROBERTS is only wearing underwear and encourages her to dance by throwing money

   at her. MINOR VICTIM 1 performs lap dances on ROBERTS.

20. There are hundreds of videos and images that appear to be from hidden cameras in a bathroom

   and a bedroom used by MINOR VICTIM 1. MINOR VICTIM 1 is observed in various states

   of dress, undress, and bathing in these videos and images.

21. Review of the SUBJECT ACCOUNT revealed the existence of "IMG 2101" as described

   above.

22. A description of two of the videos found in SUBJECT ACCOUNT is being provided. Both of

   these videos show that they were taken with an Apple iPhone XR within the District of

   Arizona.

       a.     IMG 1628.MOV - This file is a 30 second color video with sound. It depicts

              MINOR VICTIM 1 completely nude except she is wearing a light colored cowboy



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     hat on her head. She appears to be in a {living room and there is a small white

     Christmas tree in the corner and a bottle of Malibu rum on the table. Music is

     playing in the background. MINOR VICTIM 1 is dancing, including shaking her

     breasts, gyrating her hips, and bending over with her buttocks towards the camera.

     ROBERTS cannot be seen in the video, but his voice can be heard and he appears

     to be filming the video while seated on the couch. One of his bare thighs can be

     seen at the start of the video. MINOR VICTIM 1 almost loses her balance, as she

     appears to possibly be under the influence of alcohol. ROBERTS says, "That was

     sexy. You in the hat is fucking ridic (cuts oft)". [The EXIF data of this video

     shows that it was created on January 10, 2022 at 5:11:20 AM (UTC+0), which

     would be 10:11:20 PM, Arizona Time, on January 9, 2022. The location associated

     with the file is +33.4257-112.2439+303.069/. A review of Google Maps places

     this GPS location at ROBERTS known address in Tolleson, AZ.]

b.   IMG 2349.MOV - This file is a 26 second long color video with sound. It depicts

     MINOR VICTIM 1 who is wearing socks and a tube top or strapless black and

     white dress. The garment is pulled up to her stomach, exposing her bare buttocks

     and genitalia. MINOR VICTIM 1 is bent over what appears to be a couch in an

     RV. She is shaking her buttocks in the air, with her legs spread, exposing her

     genitalia. ROBERTS cannot be seen in the video, but his voice can be heard and

     he appears to be filming the video. He zooms in on her buttocks and genitalia and

     says, "Mmm hmm. Shake it. Get down with your bad self... .let them titties fall

     out in the front." MINOR VICTIM 1 turns around and shakes her breasts until they

     come out the top of the garment. [The EXIF data of this video shows that it was



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              created on March 23, 2022 at 8:05:42 PM (UTC+0), which would be 01:05:42 PM,

              Arizona Time, on March 23, 2022.         The location associated with the file is

              +33.3897-112.2691+290.925/. A review of Google Maps places this GPS location

              at 6201 S. 99!h Ave., Tolleson, AZ 85353.]

23. The address 6201 S. 99th Avenue, Tolleson, AZ 85353 is located next door from 6207 S.- 99th

   Avenue, Tolleson, AZ 85353 (ROBERTS' father and stepmother's house). Both properties

   appear to have large lots, with room for numerous vehicles and horses (based on Google Maps

   imagery). There are many images and videos of ROBERTS and/or MINOR VICTIM 1 at a

   property that looks similar to these properties, with GPS location data that matches. There are

   videos of horses, machinery, and an RV in the background.

24. There are multiple images and videos that depict an RV, or sections of an RV. ROBERTS is

   the co-registrant of a 1998 Winnebago with AZ registration GZA37H. He utilizes the address

   6207 S. 99th Ave., Tolleson, AZ 85353 on his driver's license. There is an image of an AZ

   temporary tag from ADOT for a 1998 Winnebago Motorhome with the number "61880JP" and

   date February 24, 2022.

25. There is a video titled "IMG_2467.MOV" contained within SUBJECT ACCOUNT. This

   video was created on April 13, 2022 and does not contain GPS location data. This is a one

   minute and 32 second long video that depicts ~OR VICTIM 1 performing oral sex on

   ROBERTS. ROBERTS tells MINOR VICTIM 1, "Get it love bug". He can only be seen from

   the waist down and MINOR VICTIM 1 is nude. They appear to be in an RV.

26. A PING warrant for ROBERTS' phone (715)773-0065 revealed the location of the device to

   be at the 4-Mile Creek Resort RV Park, at 13218 SW TAWAKONI ROAD, AUGUSTA,

   KANSAS.



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f 27. On May 11, 2022, agents in Wichita located a 1998 Winnebago with AZ registration GZA3 7H

    at 4-Mile Creek Resort RV Park, Lot 19, at 13218 SW Tawakoni Road, Augusta, Kansas.

, 28. Investigators learned ROBERTS was driving a white truck which was not at the campground

    site and believed ROBERTS was away from the Winnebago and attempted to conduct a

    welfare check on the MINOR VICTIM 1.

29. Investigators knocked on the door for several minutes but no one came to answer or responded

    to investigators when prompted. Investigators could hear a dog barking and noticed movement

    in the back of the Winnebago to include movement of the blinds as if someone was attempting

    to view out of them. Investigators set up surveillance positions to maintain visual of the

    Winnebago.

30. A while later, investigators saw a white truck driven by a person matching the known
                                                            I



    description of ROBERTS returning to_ the Winnebago. As the truck approached Lot 19,

    investigators approached ROBERTS and instructed him to exit the vehicle. ROBERTS locked

    the doors as investigators approached, and refused to exit. Investigators informed ROBERTS

    he was under arrest to which he responded "no" and shook his head and abruptly accele!ated

    the truck, fleeing south of the campsite through a field. Investigators pursued ROBERTS who

    exited the truck a short time later, fleeing on foot.

31. While investigators were pursuing ROBERTS, others stayed at the Winnebago, believing

    MINOR VICTIM 1 was inside. A few minutes later, Mandy Sturmer, ROBERTS' sister

    arrived and was able to convince MINOR VICTIM 1 to exit the Winnebago and speak with

   Investigators so they could confirm MINOR VICTIM 1 was safe.




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32. After obtaining a search warrant for the Winnebago (22-mj-6082-GEB), investigators took

   entry photographs of the 1998 Winnebago Motorhome VIN: 1GBLP37JOW3302 and

   conducted a search of the Winnebago.

33. In the trashcan located within the Winnebago, investigators discovered what appeared to be a

   recently used (e.g., not dried) condom on top of other trash. The condom was photographed

   and placed into a manilla envelope for collection. A subsequent search of the bedroom revealed

   a large box of Trojan brand condoms. To the author's knowledge no other residents resided in

   the Winnebago other than ROBERTS and MINOR VICTIM 1.

34. While speaking with Sturmer and MINOR VICTIM 1, investigators learned there was a

   handgun in the Winnebago in the back on the bed. Investigators located a Ruger LCP, .380

   handgun, serial number 376"58617. The handgun was loaded with a six round magazine and

   one round in the chamber of the handgun. Investigators seized the handgun for officer safety

   and with knowledge that ROBERTS was a person prohibited from possessing a firearm

   following his convictions for Criminal Trespass (Case# 2005115880001D) and Kidnapping

   (Case# 20081543 8500 lD) in Maricopa County, Arizona, for which he served a roughly 8 year

   sentence of incarceration, from January 2009 to March 2017.

35. A search warrant has been obtained, and executed, for ROBERTS' DNA, via buccal swab, for

   comparison of DNA profiles relative to the used condom, firearm, and ammunition found by

   law enforcement.

36. Subsequent forensic examination of the phone in MINOR VICTIM 1's possession revealed a

   video of MINOR VICTIM 1 exposing her naked body and genitals (in a manner to convey

   willingness to engage in sexual activity) that had been created on the phone and appeared to

   have been created via the Snapchat application on the phone, on May 9, 2022 (two days prior



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   to the search warrant execution). The location of the video indicated it had likely been created

   for the purpose of distributing to another individual.

37. Given ROBERTS' involvement in creating other depictions, and his storage of similar

   depictions in his online account, it is reasonable to believe this video was probably created for

   the purpose of sending it to ROBERTS, and further indicates that ROBERTS had continued to

   subject MINOR VICTIM I to sexual activity following travel to Kansas.

38. Following the recovery of MINOR VICTIM l, the minor has been ordered to remain in a

   protective custodial placement in Wichita, Kansas.

                                         CONCLUSION

39. Based on ROBERTS' history of producing child pornography images of MINOR VICTIM 1,

   including depictions of engaging in a sex act with MINOR VICTIM 1 in the RV, it is probable

   that ROBERTS has transported MINOR VICTIM 1 in interstate commerce, from Arizona to

   Kansas, to continue to engage in sexual activity with MINOR VICTIM 1 (in violation of KSA

   21-5506(a)(l), Indecent Liberties with a Child, and KSA 21-5504(a)(3), Criminal Sodomy),

   all in violation of 18 U.S.C. § 2423(a). Moreover, there is probable cause to believe that

   obtaining samples of MINOR VICTIM 1's DNA, via buccal swab, is necessary in order to

   complete the forensic examination of the used condom found in the Winnebago. Likewise,

  there is probable cause to believe that comparing a buccal (cheek) swab from MINOR VICTIM

   1 with DNA evidence collected from the item(s) seized in this case will yield a DNA match

  that will constitute evidence of the commission of offenses in violation of the laws of the

  United States of America, specifically, violations of 18 U.S.C. § 2423(a), transportation of a

  minor for criminal sexual activity.




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40. Based on the foregoing, your affiant therefore respectfully requests that the attached warrant

   be issued authorizing the search and seizure of a sample of MINOR VICTIM l's           DNA,

   via buccal swab.




                                              Special A
                                              Federal B eau of Investigation
                                  --\""e \ e...?'nonl c0-.ll 'f d
Subscribed and sworn to before me m-my presence-on this 3 A aay of June, 2022.



                                             THE




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                                      ATTACHMENT A

                                     Person to be searched


The person to be searched is MINOR VICTIM 1, a minor child known to law enforcement,

currently in a judicially ordered placement in Wichita, Kansas.




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                                   ATTACHMENTB

                                   Property to be seized


The evidence to be seized is as follows:

      Saliva sample taken from MINOR VICTIM 1, who is described in

      Attachment A.

The saliva sample will be collected using a sterile cotton tipped applicator, the tip of

which is placed into the donor's mouth and run along the gum lines so as to collect

as much saliva as necessary.




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